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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   COLUMBIA DIVISION

UNITED STATES OF AMERICA                             )       CR. NO. 3:20-00727-MGL
                                                     )
            v.                                       )
                                                     )
                                                     )
KEVIN MARSH                                          )

                          MOTION FOR DOWNWARD DEPARTURE

       NOW COMES the United States, by and through its undersigned attorneys, to respectfully

move the Court, pursuant to Section 5K1.1 of the United States Sentencing Guidelines, to depart

downward from the applicable guidelines regarding the Defendant, and in support of such motion,

does state as follows:

       1.        On February 24, 2021, the Defendant pleaded guilty under the terms of a Global

Plea Agreement to federal charges for conspiracy to commit mail and wire fraud, in violation of

Title 18, United States Code, Section 371 (Dkt. No. 24).

       2.        The Addendum to the Defendant’s Plea Agreement (Dkt. No. 19) provides:

       Per Paragraph 8 of the Plea Agreement, the parties agree that if the Defendant
       cooperates and otherwise complies with all the terms and conditions of the Plea
       Agreement, and his cooperation is deemed by the United States as providing
       substantial assistance in the investigation or prosecution of another person, the
       United States will file a motion for a downward departure pursuant to U.S.S.G. §
       5Kl.1, and pursuant to such motion, the United States, the State of South Carolina
       and the Defendant, agree that the appropriate sentence is a sentence of 24 months
       (irrespective of any fines and/or forfeitures), to be served in the Federal Bureau of
       Prisons, followed by concurrent terms of supervised release.

       3.        For nearly a year, the Defendant has actively cooperated with the Federal Bureau

of Investigation (“FBI”), the United States Attorney’s Office (“USAO”), and the South Carolina

Attorney General’s Office (“SCAG”). He has been debriefed by the FBI seven times, provided

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documents and information through counsel to the USAO, and appeared for additional meetings

and interviews with SCAG. The Defendant has provided corroborated information regarding

himself and other subjects and targets of investigation, including other former SCANA and

Westinghouse employees. He has abided by all the terms and conditions of his Plea Agreement.

Further, the Defendant is prepared to testify as a Government witness in the case of United States

of America v. Jeffrey Benjamin, 3:21-cr-00525-MGL.

       4.      The Defendant’s information and investigative assistance have proven useful,

timely, reliable, and significant. As such, his assistance has been substantial, as contemplated by

U.S.S.G. § 5K1.1. Under the terms of the Defendant’s Plea Agreement, the United States therefore

recommends he serve a sentence of twenty-four months in the Federal Bureau of Prisons.

       WHEREFORE, the Government moves that this Honorable Court grant the Motion for

Downward Departure as herein requested.

                                             Respectfully submitted,
                                             M. RHETT DeHART
                                             ACTING UNITED STATES ATTORNEY


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